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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

)
IN RE: JOHNSON & JOHNSON )
TALCUM POWDER PRODUCTS )
MARKETING, SALES PRACTICES AND ) MDL No. 2738 (MAS) (RLS)
PRODUCTS LIABILITY LITIGATION _ )
)
)
This Document Relates To All Cases )
)
CASE MANAGEMENT ORDER __ -- PROCEDURES FOR FAILURE TO TIMELY

SERVE PLAINTIFF PROFILE FORM AND TO ADDRESS DEFICHENCIES

This matter having come before the Court upon the application of Defendants, the Plaintiffs

having consented to same, and the Court having reviewed the matter,

wisontuis “th — dayor Fely. , 2024,

ORDERED THAT:

1, Beginning on March 1, 2024 and on the first of each month thereafter, the parties
will include in a report to Judge Singh which shall be filed on the docket a list of the cases where
a Plaintiff Profile Form (“PPF’”) is overdue and/or has major deficiencies (the “PPF Report”). This
list of cases shall include the case name, docket number, and filing counsel. Notice that the PPF
is overdue or has major deficiencies will also be served concurrently via MDL Centrality. Ifthe
Defendant is alleging “major deficiencies,” the deficiencies must be outlined with specificity in
the notice that is uploaded to MDL Centrality. Neither this Order nor Defendant’s decision to list
a particular deficiency from a PPF Report shall be construed as waiving Defendant’s right to assert
deficiencies in the future that are not listed on a PPF Report; however, deficiencies that are not

listed on a PPF Report must be specified in order to be subject to the procedures in this Order.

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Plaintiffs whose cases are listed on a PPF Report shall receive an automatic 60 days to cure the
deficiencies.

2. During the 60-day period in which a plaintiff may cure deficiencies in a PPF,
plaintiffs shall submit their overdue or amended PPF via MDL Centrality, If plaintiff is unable to
cure the deficiency within the 60-day period, they must contact Faegre Drinker Biddle & Reath,
counsel for Defendant Johnson & Johnson and explain any issues that have made it difficult or
impossible to cure the deficiency within the 60-day period. Plaintiff shall also copy Plaintiffs’
Leadership on this email. The parties shall meet and confer in good faith.

3. Plaintiffs whose cases have been listed on a PPF Report may not file any motion or
other request with the Court seeking relief from the instant order unless plaintiff's counsel has met
and conferred with counsel for Defendant Johnson & Johnson as described in Paragraph 2 above.

4, Sixty days following the initial listing of a case on a PPF report provided to the
Court, Defendant Johnson & Johnson will submit an Order to Show Cause (‘OTSC”) for those
cases where there has been a failure to address and/or cure the deficiency. The OTSC shail require
the plaintiffs to show cause, within 21 days of the date of the OTSC, why the case should not be
dismissed with prejudice.

5. Plaintiffs’ failure to show cause will result in a dismissal of the case with prejudice,

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Hon. Rukhspna nL. Singh, U.S. Magistrate
Judge

